                      Case 4:13-cr-00007-JRH-CLR Document 715 Filed 04/14/15 Page 1 of 1
AD 247 (10/1 1) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. * 3582(c)(2)                               Page I of 2 (Page 2 Not for Public Disclosure)




                                                                 UNITED STATES DISTRICT COURT
                                                                             for the
                                                                              Savannah Division
                        United States of America                                     )
                                          V.                                         )
                         Jawyanna Porchat Pringle                                    ) Case No: 4:I3-CR-00007-16
                                                                                     ) USMNo: 17921-021
Date of Original Judgment:         May 12, 2014                                      ) Martin Gregory Hilliard
Date of Previous Amended Judgment: N/A                                               ) Defendant's Attorney
(Use Date of Last Amended Judgment, fany)


                                           Order Regarding Motion for Sentence Reduction Piirstiant to 18 U.S.C. § 3582(c)(2)


        Upon motion of         the defendant Lithe Director of the Bureau of Prisons Lithe court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG § I B 1.10 and
the sentencing factors set forth in 18 U.S.C. § 3 553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
    DENIED.           Li
              GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in the last Judgment
              issued) of        months is reduced to


                                                     (Complete Parts I and /I of Page 2 when motion is granted)




                                                                                                                                                     N)


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Except as otherwise provided above, all provisions of the judgment dated                               May 12. 2014,      shall remain in effect.
IT IS SO ORDERED,

Order Date:              ,4;o,4i               / 4, 2.'9fS                                                      5•7_
                                                                                                                 Judge 's sigfire


                                                                                              William T. Moore, Jr.
                                                                                              Judge, U.S. District Court
Effective Date: November 1, 2015                                                              Southern District of Georgia
                           f different from order date)                                                        Printed nane and title
